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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


UNITED STATES OF AMERICA,
                   Plaintiff,
                                                     CIVIL ACTION
      v.
                                                    NO. 1:18-cv-00287-AT
ONE 1984 GULFSTREAM
AEROSPACE G-1159A AIRCRAFT,
SERIAL NUMBER 445, WITH TAIL
NUMBER N158PC,


                   Defendant.



                       WARRANT FOR ARREST IN REM


TO:   AUTHORIZED LAW ENFORCEMENT OFFICER


PROPERTY DESCRIPTION: ONE 1984 GULFSTREAM AEROSPACE G-1159A
      AIRCRAFT, SERIAL NUMBER 445, WITH TAIL NUMBER Nl58PC.


      WHEREAS, on January 19, 2018, the United States of America filed a


verified complaint for civil forfeiture in the United States District Court for the


Northern District of Georgia against the above-named Defendant property,


alleging that said property is subject to seizure and civil forfeiture to the United


States for the reasons mentioned in the complaint; and


      WHEREAS, the Defendant property is currently in the possession, custody,


or control of the United States; and
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      WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the


Clerk of the Court to issue an arrest warrant in rem for the arrest of the Defendant


property; and


      WHEREAS, Supplemental Rule G(3)(c) provides that the warrant of arrest


in rem must be delivered to a person or organization authorized to execute it;


      NOW THEREFORE YOU ARE HEREBY COMMANDED to arrest the


above-named Defendant property by serving a copy of this warrant on the


custodian in whose possession, custody, or control the property is presently


found, and to use whatever means may be appropriate to protect and maintain it


in your custody until further Order of this Court.


      YOU ARE FURTHER COMMANDED, promptly after execution of this


process, to file the same in this Court with your return thereon, identifying the


individuals upon whom copies were served and the manner employed.


      Issued this 23rd day of January, 2018.


                                      JAMES N. HATTEN, CLERK
                                      UNITED STATES DISTRICT COURT
                                                         .
                                      NORTHERN Dis-tRICT OF GEORGIA
                                                             .    - ,




                                      By:              ·..




                                            DEPUTY CLERK
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    .




        Executed this_ day of   -----�        2018.




                                    Authorized Law Enforcement Officer




                                    Title and Agency
